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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §           CRIMINAL NO . H-10-662
                                                  §
ERVIN DEWAYNE CLARK                               §


                           ORDER OF DETENTION PENDING TRIAL

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in
the record as Dkt. No. 42. I conclude that the following facts are established by a preponderance of
the evidence or clear and convincing evidence and require the detention of the defendant pending
trial in this case.

                                          Findings of Fact

[ ]    A.        Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1)       The defendant has been convicted of a (federal offense) (state or local offense
                     that would have been a federal offense if a circumstance giving rise to federal
                     jurisdiction had existed) that is

                     [ ]     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                     [ ]     an offense for which the maximum sentence is life imprisonment or
                             death.

                     [ ]     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                     [ ]     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

       [ ] (2)       The offense described in finding 1 was committed while the defendant was on
                     release pending trial for a federal, state or local offense.

       [ ] (3)       A period of not more than five years has elapsed since the (date of conviction)
                     (release of the defendant from imprisonment) for the offense described in
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                     finding 1.

       [ ] (4)       Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition
                     or combination of conditions will reasonably assure the safety of any other
                     person and the community. I further find that the defendant has not rebutted this
                     presumption.

[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     []      for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             () § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     [X]     under 18 U.S.C. § 924(c).

       [X] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                     condition or combination of conditions will reasonably assure the appearance of
                     the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1)       Defendant is accused of robbery and possessing a firearm during and in relation
                     to a crime of violence.

       [X] (2)       There is a serious risk that the defendant will flee.

       [X] (3)       Defendant represents a danger to the community.

       [ ] (4)       There is a serious risk that the defendant will (obstruct or attempt to obstruct
                     justice) (threaten, injure, or intimidate a prospective witness or juror, or attempt
                     to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1)       As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3)       I find that there is no condition or combination of conditions set forth in 18
                     U.S.C. § 3142(c) which will reasonably assure the appearance of the defendant
                     as required.


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       [X] (4)       I find that there is no condition or combination of conditions set forth in
                     18 U.S.C. § 3142(c) which will reasonably assure the safety of any other person
                     or the community.

                             Written Statement of Reasons for Detention

        I find that the accusations in the indictment and the information submitted in the Pretrial
Services Agency report establish by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required and
by clear and convincing evidence that no conditions will assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.        Defendant is a 21-year old U.S. citizen who has lived most of his life in Houston,
                 TX. His father is incarcerated. He has one child who lives with her mother in
                 Houston. He has been unemployed for two years. He has a history of substance
                 abuse.

       2.        Defendant is charged with conspiracy to interfere with commerce by robbery in
                 violation of 18 U.S.C. § 1951, possession of a firearm during and in relation to a
                 crime of violence in violation of 18 U.S.C. § 924(c) and conspiracy to commit a
                 crime of violence while in possession of a firearm in violation of 18 U.S.C. § 924(o)
                 He faces a penalty of up to 20 years in prison, with up to 5 years to be served
                 consecutively on the § 924(c) firearm charge.

       3.        Defendant has a criminal history including juvenile convictions for unauthorized use
                 of a vehicle, and adult convictions for criminal trespass, injury to a child, possession
                 of marijuana, escape, felony possession of a controlled substance, evading arrest or
                 detention, and forgery. He currently faces state charges for assault with bodily injury
                 on a family member.

       4.        Defendant has not rebutted the statutory presumption that he is both a flight risk and
                 a danger to the community.

       5.        There is no condition or combination of conditions of release which would assure the
                 appearance of the defendant in court or the safety of the community. Detention is
                 ordered.

                                   Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending

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appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas, on October 7, 2010.




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